         Case 1:25-cv-02412-NRB          Document 32         Filed 04/11/25      Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

YUNSEO CHUNG,

                               Plaintiff-Petitioner,                No. 25 Civ. 2412 (NRB)

                        - against -
                                                                    NOTICE OF MOTION
DONALD J. TRUMP, et al.,

                               Defendants-Respondents.



         PLEASE TAKE NOTICE that, upon the accompanying memorandum of law in support

of the Defendants-Respondents’ motion to dismiss, and the supporting declaration of Marina

Vides, Defendants-Respondents, through their attorney, Matthew Podolksy, Acting United States

Attorney for the Southern District of New York, will move this Court before the Honorable

Naomi Reice Buchwald, United States District Judge, at the Daniel Patrick Moynihan United

States Courthouse, 500 Pearl Street, New York, New York, for an order dismissing this case for

lack of subject-matter jurisdiction and failure to state a claim.


Dated:    New York, New York
          April 11, 2025

                                               MATTHEW PODOLSKY
                                               Acting United States Attorney
                                               Southern District of New York
                                               Attorney for the Defendants-Respondents

                                      By:       /s/ Brandon M. Waterman
                                               JEFFREY OESTERICHER
                                               BRANDON M. WATERMAN
                                               Assistant United States Attorneys
                                               86 Chambers Street, 3rd Floor
                                               New York, New York 10007
                                               Tel.: (212) 637-2695/2743
                                               jeffrey.oestericher@usdoj.gov
                                               brandon.waterman@usdoj.gov
